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 4   Attorney for EFRAIN VERA LOPEZ
 5
                                UNITED STATES DISTRICT COURT
 6
                               EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,                  )      No. CR F 04-5327 AWI
 9                                              )
                          Plaintiff,            )      STIPULATION AND ORDER TO
10                                              )      RELEASE COLLATERAL
                   vs.                          )      SECURING PROPERTY BOND
11                                              )
     EFRAIN VERA LOPEZ,                         )
12                                              )
                          Defendant.            )
13   __________________________________________ )

14                 IT IS HEREBY STIPULATED by and between the parties hereto, namely
15   Efrain Vera Lopez, through his attorney, Daniel A. Bacon, and the United States of
16   America, through its attorney, Assistant United States Attorney Laurel J. Montoya, that the
17   property located at 1209 East Malaga Avenue, Fresno, California 93725, owned by Juan
18   Pedraza and Elena Pedraza, legally described as “The West 75 feet of Lot 105 and the
19   West 75 feet of that portion of Lot 108 lying North of the center line of the American Colony
20   Canal, in Malaga Tract, according to the map thereof recorded in Book 2 Page 17 of Plats,
21   Fresno County Records,” APN 330-160-02, can be released by the Clerk of the United
22   States District Court for the Eastern District of California as collateral for the property bond
23   release of Efrain Vera Lopez.
24   Dated: March 23, 2006.                      /s/ Daniel A. Bacon
                                                 DANIEL A. BACON, Attorney for
25                                               EFRAIN VERA LOPEZ
26   Dated: March 17, 2006.                      McGREGOR SCOTT, United States Attorney
27                                               By: /s/ Laurel J. Montoya
                                                 LAUREL J. MONTOYA, Assistant U.S. Attorney
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 1                                            ORDER
 2                   It having been stipulated by the parties hereto, and good cause appearing
 3   therefor,
 4                   IT IS HEREBY ORDERED that the Clerk of the United States District Court
 5   for the Eastern District of California shall issue a Deed of Reconveyance and thereby
 6   release the property located at 1209 East Malaga, Fresno, California 93725, legally
 7   described as “The West 75 feet of Lot 105 and the West 75 feet of that portion of Lot 108
 8   lying North of the center line of the American Colony Canal, in Malaga Tract, according to
 9   the map thereof recorded in Book 2 Page 17 of Plats, Fresno County Records,” APN 330-
10   160-02, to its owners, Juan Pedraza and Elena Pedraza. This Deed of Reconveyance
11   shall release the security and collateral established by that Deed of Trust with Assignments
12   of Rents recorded with the Fresno County Recorder on February 1, 2005 as Document No.
13   20050022841.
14
15   IT IS SO ORDERED.
16   Dated:       March 28, 2006                    /s/ Anthony W. Ishii
     0m8i78                                   UNITED STATES DISTRICT JUDGE
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